J844 (Rev. pa/28) LSD. Bepieed RRS, RLR CIVIL COVER SHEET

‘The JS 44 civil cover sheet and the information contained ak WI ment her & Berecaal Like OGkeh: Qe Ase 8 r Pad la Plbent as niovide

by local rules of court, This form, approved by the Judicial Conference of the United states in Septem!
the civil docket sheet, (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM, } NOTICE? A toi

I. (a) PLAINTIFFS

LAwtet Br COP LAS 4

(b) County of Residence of First Listed Plaintiff .

‘(EXCEPT IN U.S, PLAINTIFF CASES) Pat Ge acAt
Par Oe geet oo NOTE: - .
{c) Attorneys (Firm Name, Address, and Telephone Number)

Attorneys (f/-Known)
Pte S#

(d) Check County Where Action Arose:

ber: tie is required fo 1
indicate AMF Rete

DEFENDANTS
bow den wt. TRE

County of Residence of First Listed Defendant

2 use of the Clerk ofc ‘ourt for the purpose of initiatin:

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(IN'US. PLAINTIFF CASES ONLY) (S¢enes 1) Syowrtent

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED, .

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Il. BASIS OF JURISDICTION = (@lace an “X” in Oiie Box Only)

(For Diversity Cases Only)

Ti. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)

and One Box for Defendant)

Ol U.S. Government 3. Federal Question PIF DEF "PTF DEF
Plaintiff (U.S. Government Not a Party) C1 Citizen of This State Ml {281 Incorporated or Principal Place O44 4...
' : of Business Io This State
C1 2 U.S. Government o4 Diversity (Citizen of Another State Oo 2 2 Incorporated and Principal Place o5 5
Defendant . Indicate Citizenship of Parties in Hem I) : , of Business In Another State ~
Cit I ° . . .
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IV.. NATURE. OF SUIT  (Ciccean “X” in One Box Only)

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ae re zi i .
PERSONAL INJURY (©) 625 Drug Related Seizure

1 110 Insurance PERSONAL INJURY
CJ] 120 Marine CO 316 Airplane C] 365 Personal Injury - of Property 21 USC 881
© 130 Miller Act 0 315 Airplane ‘Product Product Liability 1 690 Other
J 140 Negotiable Instrument Liability £1 367 Health Care/
£1 150 Recovery of Overpayment [] 320 Assault, Libel & Pharmaceutical
& Enforcement of Judgment Slander Personal Injury
{3 151 Medicare: Act (0 330 Federal Employers’ Product Liability
152 Recovery of Defaulted sahil !
J student Loans Liability 368 Asbestos Personal

) Injury Product Liability

(Excl. Veterans) D2 340 Marine

(2345 Marine Product
Liability

1 153 Recovery of Overpayment

of Veteran’s Benefits PERSONAL PROPERTY 1! 710:

Ef] 460 Stockholders’ Suits (2 340 Motor Vehicle (2 370 Other Fraud - CG 720 Labor/Mgmt. Relations
C] §90 Other Contract (0 355 Motor Vehicle O 371 Truth in Lending 0D) 740 Railway Labor Act
1195 Contract Product Liability Product Liability {] 380 Other Personal C1 751 Family and Medical
£1 196 Franchise C1 360 Other Personal Property Damage Leave Act
Tnjury O 385 Property Damage 1 790 Other Labor Litigation
CO) 362 Personal Injury - Product Liability [1791 Employee Retirement

Income Security Act

C1 422 Appeal 28 USC 158 CO] 375 False Claims Act
C) 423 Withdrawal C1 376 Qui Tam (31 USC 3729{a}
28 USC 157: 400 State Reapportionment

416 Antitrust
O 430 Banks and Banking

{1 820 Copyrights O1 450 Commerce

O 830 Patent (1 460 Deportation

ty 835 Patent — Abbreviated cg 470 Racketeer Influenced

o New pre Application: and Corrupt Organizations

840 Trademark :
480 Consumer Credit
880 Defend Trade Secrets D

Oe aFoO16 (15 USC 168] or 1692)

oO 485 Telephone Consumer
ede eue eree Protection Act (TCPA)
TA (1395if) C) 490 Cable/Sat TV

C) 862 Black Lung (923) O. 850 Seourities/Commmodities!

O . 863 DIWC/DIW W (403(g)} Exchange

() 864 SSID Title XVI $90 Other Statutory Actions

O 865 RSI] (405{g)) fC] 891 Agricultura] Acts.

C 893 Environmental Matters

(3 895 Freedom of Information A:
0) 896 Acbitration

(2 899 Administrative Procedure

C] 210 Land Condemnation 0) 440 Other Civil Rights: Habeas Corpus: oO Defendant) ( fouRev jew ot Appeal of
C] 220 Foreclosure CF 441 Voting O 463 Alien Detainee Oo at {RS—Third Party 26 usc a 200 Constitutionality of
[] 230 Rent Lease & Ejectment (1) 442 Employment Oo 310 Motions ta Vacate
( 240.Forts to Land oO 443 Housing! 1) 530 General
£3 245 Tort Product Liability (1 445 Amer, w/Disabilities- [1] 535 Death Penalty ; iN :
C1 -290 All Other Real Property Employment Other: [462 Naturalization "Application
. (CO 446 Amer. w/Disabilities- C) 540 Mandamus & Other - L) 465 Other Immigration
Other CJ 5350 Civil Rights Actions
Cl 448 Education O 555 Prison Condition
$60 Civil Detainee -
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Court. below) , Reopened * (specify) Transfer ne itigation ppellate Court
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VIL. RELATED/ (See instructions): a) Ke-filed Case CIYES JATNO _ b) Related Cages CVES BYNO
RE-FILED CASE(S) JUDGE: , _ DOCKET NUMBER:
: _, Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes untess diversity):
VIL CAUSE OF ACTION.

LENGTH OF TRIAL via # days estimated (for both sides to try entire case}

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VIE. REQUESTED IN
COMPLAINT:

1 CHECK If THIS IS A CLASS ACTION

UNDER ERCP, 23 DEMAND $

CHECK YES only if demanded in compiaint:

ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY
DATE : . , ‘ SIGNAT

JURY DEMAND: OQ Yes ‘No

FOR OFFICE USE ONLY : RECEIPT # AMOUNT * JUDGE

MAG JUDGE

